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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
WESTERN DIVISION

JIMMY DALE HUNSUCKER, JR, PLAINTIEP
VS. CIVIL ACTION NO. 3:10CV008-M-A
TIPPAH COUNTY, MISSISSIPPI, et al DEFENDANTS

DEPOSITION OF BRANDON VANCE

Taken at the instance of the Plaintiff
on Tuesday, March 22, 2011,
in the offices of Christi R. McCoy, McCoy Law Firm
Oxford, Mississippy,
beginning at 9:17 a.m.

(Appearances noted herein. }

REPORTED BY: Desi W. Arnold, CSR 1738

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BRANDON VANCE,
having first been duly sworn, was examined and
testified as follows:

SXAMINATION BY MR. MULLINS:

oO. Tell me your name for the record, please.
A. Brandon Vance.
o. Mr. Vance, I'm Chuck Mullins. You and I met for

the first time yesterday. And you were present during the
depositions of both Will and Jeff Rogers, correct?
A. Correct.
QO. You've heard my preliminary statements to them
regarding depositions.
MR. MULLINS: We're going to have usual
stipulations, Counselors, correct?
MR. ALLEN: Yes.
MS. McCOY: Yes.
MR. MULLINS: Brandon is going to read and
sign. All objections reserved except to form’
MR. ALLEN: I'm going to ask him at the end
of his deposition if he wants the opportunity to
read and sign.
BY MR. MULLINS:
Q. Again, cbviously, you've got a cough today. If
you need to take 4 break, you've got water in front of

you. If you need --

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insure whether it was in compliance with current jaw ~
anforcement standards as far as jail is concerned?

A. I do not recall that.

Q. Did you authorize Ms. Kubish to update the
manual in compliance, so it would be in compliance with
continuing law enforcement standards regarding jails?

A. Tf she needed to.

Q. You authorized her to do that?

A. She could, yes.

fo. Did you have a written policy regarding the
isolation cell, also known as the hole?

A, Not to my knowledge, no, I didn't. They were --
if I might, sir, they were -- jailers were certified, and

the procedures that were brought forward, that the people
had trained in, were modified according to the needs to
manage them under the training that the people received ~~

that the jailers received under the direction of the jail

administrator.
Q. Okay.
A. So there were procedures in place.
Q. There was nothing written?
A. Not to my knowledge. There may have been memes.
Q. Okay. You say regarding the hole?
A. Not to my knowledge on the hole.

Q. Okay. You say the jailers were trained. What

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training did they recéive?

A. State certification training.

Q. And do you know if the state certification
training had any training dealing with the use of

+solation cells or the hole, such as the one at Tippah

County?

A. I'm not familiar with the state certification
training. Sharon could advise us on that.

Q. Or did you research any laws regarding the use

of isolation cells, or the hole, such as the one at Tippah
County?

A, I did not. I relied on their training as to the
use of that and the procedures put in place.

QO. Do you know of any constitutional limits on the

use of isolation cells such as the one at Tippah County on

inmates?
A. L'm not aware of any.
QO. Are you aware of the Length of time a person

should be placed in an 4solation cell such as the one at
Tippah County?

A. I'm not aware of any.

Q. Again, are you familiar with any limitations on
putting a person in the hole without use of a proper
bathroom?

A. T'm not aware of any. There was 4 center

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portion where they could use the bathroom.

Q. You say a center portion. That was literally a
hole?

A. A hole.

QO. There was no running water?

A. No running water. The jail, of course, was
designed to meet the state criteria and the federal
criteria, whatever was required.

Q. And when you say that they were designed to meet
the state criteria or federal criteria, the inspectors,
when they came to look at the jail, what were they told
were the uses of the hole?

A. I don't know. My jail administrator accompanied
them through the inspection process.

Q. So you don't know what she informed them of, of

how long was the person kept in there normally and what

conditions, et cetera, et cetera?

A. Repeat that, please.

Q. Sure. I'm assuming this is Ms. Kubish?

A. Correct.

QO. You're not aware of what Ms. Kubish informed

these inspectors, federal and state inspectors, concerning
the hole, how it was used, the duration a person was left
in the hole, or anything of that nature?

A. I'm not aware of that. We always passed

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inspection without a problem.
Q. Okay. Did you receive any training regarding
jails, jail administration, inmate segregation, the use of

isolation cells, such as the hole?

A. No.

Qo. Do you know if Ms. Kubish received that type of
training?

A. T'm not aware of it. She was certified as a

jailer and was sent to a national training.

Q. Now, regarding the use of the hole, can you tell
me what the policy was regarding who would be placed in
the hole, how that was made?

A, Somewhat, yes. A combative subject, a person
who may pose a threat to other inmates or officers, or a
suicidal person.

Q. And how long was the person, according toa
policy, supposed to be kept in the hole?

A. Typically, as long as needed. I know there was
some discussion of maybe 24 hours or as long as necessary
to get that person -- if they were under the influence of
a drug or posed a threat or combative. And they were seen
to during that time, of course, fed and given water and
necessary hygiene.

Q. And what about the use of shackles on a suspect

while in the isolation cell? What was the policy

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regarding that?

A. That was permissible to manage them so they
wouldn't be a threat to anyone who May open the door for
whatever reason.

QO. And how were they supposed to be shackled?

A. There was a ring attached to the wall that the
chain -- the leq restraints would go through. And each
restraint or cuff would be placed on their leg around
their ankle.

Q. And you heard Mr. Will Rogers’ testimony
yesterday. And he indicated the shackle chain was about
two feet long?

A. Thereabouts.

Q. Okay. So the person was shackled by both
ankles?

A, Correct.

QO. And, according to Mr. Rogers' testimony, when a

person is shackled in this manner, he or she is unable to
use that restroom facility in the hole; is that correct?

A. Cerrect.

OQ. If you have a person who is left in there this
24-hour period or longer while shackled, how are they
supposed to use the restroom?

A, That would be a problem. They weren't shackled

for that long, to my knowledge. They would be let loose

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A. And we discussed that incident.

Q. Okay. So that's how this incident came to your
attention, correct?

A. The incident of him being tased?

Q. And ghackled for this period of time?

A. Yes. Now, let me clarify. The incident,
itself, I was made aware the night of the incident -~

Q. By whom?

A. -- later, of course, than the incident. Willi.

Q. He called you on the phone?

A. Yes.

Q. He told you about the tasing?

A. Yes.

Q. And also told you he had put him in the hole?

A. Yes.

Q. Of course, you had talked to Will prior to him
being placed in the hole?

A. That's correct.

Q. And it was my understanding it was your decision

to have Mr. Hunsucker placed in the hole?

A. That's correct. May I say something else?
Q. Sure.
A. You asked me early on about policies for the

deputies and use of force, firearms, that kind of thing.

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G. Ts that a proper use of the hole

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A. Ts leave them there, no. We have -- there was a
smock that could be placed on them as well as a mat when
they had to be placed in there for the reasons I mentioned
earlier.

QO. And once a person is placed in the hole, as
Mr. Hunsucker was, whose decision is it to take a person
out of the hole?

A. It could be made on the level of one of the
jailers if they called and asked -- if they were unsure
about the details of that, they could ask the jail
administrator or chief deputy on staff.

Qa. You're familiar, in this case, that the jailer
on duty actually checked with Willi Rogers to see if he
could let Mr. Hunsucker out of the hole?

A. That's correct.

O. And, again, there's no written policy, but is
that something that's within the unwritten policy
regarding the hole?

A. That would be based on the jailers individual
call since Will had contact or was the arresting officer
in that case.

Q. Well, I guess what I'm saying is, Mr. Rogers was
not at the jail. After he placed Mr. Hunsucker in the

hole, he left the jail, correct?

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Ae Correct.

QO. So he was not there throughout the night,
correct?

A. Correct.

Q. He doesn't know how Jimmy Hunsucker was acting?

A. Throughout the night, yes, sir. No, not to my
knowledge.

QO. The jailers would have the best --

A. Unless they relayed it to him.

QO. Well, the jailers would have the better vantage
point of being in the jail and going to check on the
inmates of who was doing what, correct?

A. Right.

Q. I mean, that's their job. That's what they were
erained to do?

A. Right.

Q. So why would this jailer, who has been with
Mr. Hunsucker through the night and through the day, why
would they have to check with the arresting officer to

place Mr. Hunsucker in the cell to see if he could take

him out?
A. I don't know that they would.
Q. T£ a jailer was told that they had to check with

Mr. Rogers before they took Mr. Hunsucker out of the hole,

would that be proper or improper?

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Pua Tt would be their decision whe
with.

Oo. But what if their decision was limited to, "Hey,
you can't take him out of the hole until you check with

Will Rogers"?

A. What if their decision was limited to that?
QO. Yes, sir.

A. It wouldn't be limited to that.

Q. Okay.

A. You're asking me toa --

Q. I am.

A. A hypothetical question here.

Q. Tam. I am asking you would it be proper to

limit the jailers discretion to only let Jimmy Hunsucker
out of the hole if Will Rogers approved?
A. No. They could make their own decision about
that.
Q. So it would be improper in that regard?
MR. ALLEN: Object to the form of the
question.

BY MR. MULLINS:

Q. You can answer.
A, It could be, yes.
Q. You say it could be. In what way would it be

proper to say that it was up to Wiil Rogers whether Jimmy

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Oo. And in that situation, he just actually had Lo
co where he was, correct?
A. Correct.
Oo. And I say "go" -- to use the restroom?
A. Sure.
9. And I want to phrase this in a noniegal manner,

but is chat oroper in the jail setting, to have an inmate
confined in that manner?

A. Not for that length of time. He needs ability
to exercise hygiene.

Q. After the leg shackles are taken off
Mr. Hunsucker Sunday evening, June 10th, he still was kept
in the hole, correct?

A, T believe that's correct.

Q. In fact, he was not released until Monday

morning, June the llth, 2007?

A. Correct.

Q. At that time he made bond and was released?
A, Correct.

Q. And during the entire time that he was in the

hole, you were aware that he was not allowed to shower and
clean himself?

A. After the fact, yes. I was --

QO. And I understand --

A, I learned these things after -- all of these

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things.

QO. And he had, as we stated before, defecated on
himself from the taser, which happened Saturday night,
correct?

A. Correct.

QO. So he was in that condition for Saturday
afternoon until Monday morning, correct?

A. Correct.

Q. Now, again, is that proper policy and procedure

with regards to the jail at Tippah County?

A. No,

Q. And that's what you learned in your
investigation?

A. Right.

QO. Now, as a result of your investigation and
determining after the fact that these things occurred,
what did you do, if anything, regarding the punishment of

any employees?

A. I didn't punish any of them.
Q. And did you reprimand any employee in any way?
A. tT can't recall exactly what was said, but that

was not appropriate. Relayed it to them that didn't need

to happen.
Q. Did you do a written reprimand?
A. I didn't.

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OQ. Who did you reprimand?

A. I don't recall. I talked to all of them, and f
don't recall.

OQ. And just to make clear, you just did a written
statement to them saying, "Hey, don't do this any more"?

A. I didn't write anything to them.

QO. i'm sorry. I said written. J meant oral
statement, correct?

A, Basically, yes.

Q. Did you --

A. I don't recall exactly what I said to them.

Q. And you don't recall ~~ I'm sorry for
interrupting. And you don't recall exactly who you said
it to?

A, I don't.

Q. Did you institute any written policies regarding

the hole after that fact?
A. Yes.
THE WITNESS: A memo.
MR. ALLEN: I'm not sure what you're
referring to.
BY MR. MULLINS:
Q. What are you talking about?
A. Well, I told them that anybody -- and I'm doing

this from memory, now.

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1 oO. surce. You got a written memo that you sent to
2 the jailers after the fact?
3 A. Yeah. Yeah. I believe I do.
4 o. Let me ask you this: And I'm not saying Jeff
5 didn't produced this to me because we've got a lot of
6 paperwork, as you can see, but when you get back to the
7 office and put your hands on it, could you please give
8 that to Jeff so he can give it to me?
9 A. Yeah.
LO Q. Now, going by memory, and not going to hold you
li to it, generally, what did the memo say?
12 A. It established about the person being placed in
13 the smock as they should be when they're nude after
14 they're calmed down or they no Longer pose a threat.
15 Placed in the smock and any shackling or leg restraints
16 need to be -- I need to be notified or Roy, being the
17 chief deputy, needed to be notified, and maybe Sharon. 1
18 don't remember verbatim.
19 QO. Was there a time limit in the memo?
20 A. I don't recall.
21 Q. Was there anything related to hygiene in the
22 memo?
23 A. T don't recall.
24 Q. Now, let me ask you a question: What is the
25 purpose --

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A. May I?
QO. sure.
A, The person being managed in isolation, in the

hole, was under the supervision of the jailers, and they
made determinations either alone or among themselves or
through the jail administrator consultation as to how to
manage them. And I let the administrator manage those
people. And if there was a problem, they could come to
me.

Q. Well, and I appreciate that, but you understand
that from doing this for four years as sheriff, that when
you don't have a written policy, you leave a lot of
discretion to jailers?

A. IT understand.

Q. And some of the jailers are not the most
educated people in the world. And TIT con't know your
jailers personally. I'm making a generalization. You
understand what I'm talking about?

A. T do.

Q. And when you don't have a written policy
advising these folks, you leave, sometimes, too much
discretion as to what to do and what not to do. Doe you
agree with me?

A. I do.

Q. And do you agree that having a written policy is

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a better and more effective manner on deaiing with
situations such as the use of an isolation cell?

A. Correct.

Q. There's no gray areas, and it's black and white
as to what to do and what not to do?

A. Correct.

Qo. And that's exactly why you sent the memo out
after the fact, after the Jimmy Hunsucker incident,
correct?

A. Right.

OQ. And -- yes, sir.

A. LT was not consulted during the time of his stay

there. And neither was the chief deputy to my knowledge.

Q. And, again, that is why you put in the memo,
“"eontact us," correct?

A. Yes.

QO. But in Mr. Hunsucker's case, you were the one
who authorized him to be placed in the isolation cell?

A. Right.

Q. And from Saturday until he was released, did you
ever come by the jail to check on Mr. Hunsucker?

A, No, £ was not in town.

Q. Did you ever call anyone to check on
Mr. Hunsucker? |

A, No.

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O. Did you ever make any efforts to check on
Mr. Hunsucker or see if he was released from the isolation
cell?

A. No.

Q. Now, getting back -- yes, sir.

A. As other times in the past, other people that
were placed in there, left it to the jailers, jail
administrator, to make those determinations. There were
procedures and routines that were normally carried out
when those persons had to be managed like that.

Q. And you will agree with me that based upon what
we've seen with Mr. Hunsucker, some of the jailers that
were on duty that night were not aware of how to handle
the situation?

A, Obvicusly not.

Q. And they needed some type of training or policy
to direct them as to what to do when someone was placed in
the hole, you agree with that?

A, Yes.

Q. And that's obvious now to you, and that's why
you did the memorandum?

A. That's correct.

Q. I've got several versions -- and I say several,
I've got two versions of a taser policy. I don't want to

confuse this. All right. So I'm going to try to do the

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Q. Download data’?

A. Download data. Needed to be downloaded.

Oo. Yes, Sir.

A. And that's just a general idea of me getting it
done after we -- I mean, we should have had that done
beforehand. I didn't think about it.

Q. and why did you think it was necessary to put
that policy in piace regarding the download data?

A. I didn't realized you could do it until someone
told me.

Q. Okay.

A. Tf tT knew about it before, IT just didn't think
about it anymore.

Q. Who told you?

A. Maybe Will told me about it, that it could be
done.

Q. Now, there was another policy regarding the
taser that we talked about yesterday, and it was a sign
that you placed in the Sail itself?

A. Uh-huh.

Q. Yes?

A. Yes, gir. Sorry.

Q. That's okay. That's okay. Can you tell me what

the sign said exactly?

A. I don't think I can exactly remember it.

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Q. All right.

A. Tf you resist ~- if you're resisting, you will
be tased to stop resisting.

QO. Did any other instruction regarding use of the
taser in the jail accompany that sign, or was it just that
sign?

A. It wags that sign based on the officers summary
of use of force continuum.

Qo. Well, let's Look at Exhibit 5, which was in
place. Was there anything in the policy which existed
when Mr. Hunsucker was brought in regarding the use of the
taser on someone who was in jail?

A. No, it was the same policy that covered the use
of the taser.

Q. So there was no written policy regarding the use
of the taser in the jail, correct?

A. No, just policy right here.

QO. And you agree with me that when a person is out
on the street in a car or out here on the square in
Oxford, it is a different situation than when that person

ig incarcerated in a jail cell?

A. The threat to an officer or another person is
the same.
Q. You would agree with me that when a person is in

a jail cell, they do not have a weapon?

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A. That is correct except for their body and nends
and feet.

Q. Exactly. Whereas when they're out on the
street, they could nave access to who knows what?

A. That's correct.

Q. And they are capable of fleeing the officer in a

car or on foot and escaping?

A. Correct.

Q. Whereas in a jail, the person is already
incarcerated. He has several officers in the jail cell

and has also got several locked doors as weli, correct?

A. Correct.

Q. And I guess the threat of escape is very
minimal?

A. Correct.

Q. And, again, a person could also be actually

Locked behind the cell cr in an isolation cell as well -~-
and I'm going with my comparison to someone on the street,
that this person in jail is already restrained behind a
cell?

A. Correct.

Qo. Was there any guidance to either the jailers of
the deputies as to when a taser could be used on someone
who was in a cell or an isolation cell?

A. Tt related to this policy, the taser use policy

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based on the use of force continuum.

Q. Did you finish your answer?
A. Yes.
Q. But, again, there was nothing specifically in

there regarding when or under what circumstances a deputy
could used a taser on someone who was in a cell or an

isolation cell?

A. In the taser policy?
Q. Yes, sir, in the taser policy?
A. Just encompassed use of force yelated to the use

of force continuum.
Q. Were there ever any discussions prior to

Mr. Hunsucker's arrest regarding the use of a taser in the

jail?
A. No.
Q. Any memos?
A. No, none that I recall.
Q. Do you agree with me that a sign on the wall, in

this case, regarding tasers, could allow a little too much
discretion for an officer to use a taser?

A. Repeat that. TI heard you, but I'm --

Q. Sure. i understand. A lot of times when people
actually ask someone to repeat a question, that's what
they're doing. They're thinking of an answer.

A. Uh-huh.

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Q. The sign on the wall that you had posted, do you

agree with me that that could leave a little too much

discretion to a deputy as to when and under what

circumstances to use a taser on someone in jail?

A. The officer has been trained at what level to

use a taser, what level of force
continuum to use the taser. And

trained to do with regard to the

on the level of force
that's what they're

sign.

Qo. All right. So the answer to my question then

would be it doesn't leave any discretion?

A. T think the officer uses discretion based on the

summary of his training based upon the use of force

continuum.

QO. We had talked about written policies before as

it relates to the hole. Do you agree with me that you

think we should have policies —-

A. Correct.

Q. “- to make it ciear as
with regards to putting a person
remember that?

A. T do.

Q. And you agree with me,

to what the rules were

in the hole? Do you

i hope, that it should be

necessary to have written policies regarding when you can

use a taser on someone that's in

You agree with me?

jail already locked up?

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A. The taser policy covers that.

Q. And I don't want to get contrary with you, but
would you agree with me that there's nothing in that
policy regarding someone who is already incarcerated in
jail?

A. There's nothing related to that in that taser
policy.

Q. So it would allow a jailer or deputy to utilize

the same policy regardless of whether that person is out
on the street or in the jail?

A. That's correct.

Q. And you understand you and I talked about the
differences between someone who is out on the street being
confronted by a police officer and someone who is in jail
confronted by a police officer?

A. That's correct.

QO. And yet there were no policies when you were at
Tippah County regarding the use of tasers specifically on
someone wnio is incarcerated in jail, correct?

A. That's correct.

MR. ALLEN: Let me just object because you

keep asking that same question over and over, and

he keeps answering this policy applied to someone

in the jail. I mean, for the record, it doesn't

state, "This is only for somebody on the street."

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what was going to happen —- or what happened, and then

call in if anybody eise needed to be called in, the MBI or

AG's office or something like that.

Q. Would you investigate that in-house?

A. A major complaint such as that?

Q. Yes.

A. No.

Q. Well, in the situation --

A. t wouldn't --

Q. Go ahead.

A. You know, something that significant that you

mentioned, I'd want someone else to look into it.

Q. All right. Now, in the situation with
Mr. Hunsucker, you did conduct an investigation, correct?

A. Just an inquiry.

Q. Okay. Is that different from an investigation
in your mind?

A. Well, I cali it an inguiry. I asked about it
and got statements from them so I'd know what happened.

Q. And you have, as the policymaker, the choice
whether to discipline the officers or the jailers that
were involved, correct?

A. Correct.

Q. Right?

A. Right.

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Qo. And at the end of your investigation, what, if
any, discipline did you impose on anybedy with regards to
Mr. Hunsucker's tasering?

A. Nothing significant that I recall other than
just talking to them and finding out, as ! mentioned
earlier.

Q. Did you condone the use of the taser on
Mr. Hunsucker?

A. At the level at which they were experiencing

assault, based on the taser policy, and the level of what

I knew -- I wasn't there -—
Q. Yes, sir.
A. -- obviously. And I only learned about it after

the fact through the reports that I got. And based on his
level of resistance, that would be permissible. That
choice would be permissible.

QO. So you did condone the taser usage on
Mr. Hunsucker?

A. At that level of resistance, based on that ——

Q. And you still feel that way today?

A. They made a choice.

Q. I understand. And you can explain as much as
you want. But just try to answer yes or no to my
questions first --

MR. ALLEN: He doesn't have to answer yes or

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FC
as they struggled with Hunsucker. She noticed that there

was a struggle occurring in the hole, but did not recall
ever seeing Hunsucker stand facing either deputy in an
aggressive posture.” And I bracketed that on page three
going on to page four. T'll let you read that.

A. (Witness complies.)

Q. Did I read that correctly?

A. You did.

QO. All right. Do you know Natalie Bibb,
personally?

A. T do.

Q. Good employee of yours?

A. Yes.

Q. Any reason that you would know that she would

have to make up anything that wasn't true?

A. No, not to my knowledge unless she didn't see
what was going on. She said she saw it, but --

QO. Okay. All right. Now, in Hunsucker's case, We
know that Jeff Rogers did not complete a use of force
report timely in accordance with the policy, correct?

A, Correct.

oO. We also know that the AFIDs were not collected
by Will Rogers, correct?

A. Correct.

Qo. According to Will, they were collected but not

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logged into evidence? ~
A. Right.
QO. And that's a violation of the policies and
procedures, correct?
A. According to the policy ~- taser policy. Right.
QO. There were no photos taken of Mr. Hunsucker, his

injuries?

A. Not to my knowledge, no.

QO. But yet there was no discipline to either
officer for violating this policy in any way?

A. At that time, the FBI came in, and I held off.

I held off on most everything as far as an in depth
investigation goes. And those AFIDs that you're talking
about.

Q. Yes, sir.

A. Back there in the hole, they're difficult to
collect. And if they didn't collect them, my main concern
was with respect to the policy, proper use of the device.
And this was a model policy here, and I probably should
have changed that because the AFIDs are difficult to
collect all of them. But, yes, you asked was there a
violation. Yes. And did I discipline them for that? No,
I didn't.

Q. Thank you. When you nave any officer including

yourself --

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drug or aicohol ‘nducement. Tt's a condition, correct?

A. tT don't know. I'm not a psychiatrist or
psychologist.

Q. Well, you know it's something that they can't
control? Do you agree with me?

A. Tt could be. There's different levels of mental
illness, I'm sure.

Oo. And are you aware of different uses of force
with regards to law enforcement different uses of force
that are used for people who are mentally ill?

A. T'm not aware of any.

Q. Did you do any research on —~ be it with Taser
Tnternational or other literature regarding tasers,
regarding the use of tasers on people who are mentally
iil?

A. No, not that I recall, just if that person posed
a threat to himself, to an officer, or to others, the
taser could be used. Dcesn't have a lasting effect on
them and allows the officer to take control of the
threatening subject.

Q. Now, in the reports that I have -~ and I'm going
to show you the ones that I have for you. And we're going
to get them marked individually. I've got three use of
force reports for you. One on @ Seth Dore, D-O-R-E,

correct?

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A, Correct.

Q. One -- well, actually it's two on a Robert
Duren, D-U-R-E-N.

A. Right.

Q. And they were both on the same day?

A, Correct.

QO. Apparently you had to tase him twice on the same
day?

A. Right.

QO. Separate instances?

A. Correct.

QO. And I'm going to show you what appears to be

your reports on those three cases, the use of force report
and the accompanying incident report and the downloads.
And they're stapled together. Just look at that and make
sure the reports are yours.
(Off the record.)
MR. MULLINS: Okay. Let's go ahead and get
these marked. I'm going to get Mr. Seth Dore
marked as Exhibit 8.
(Exhibit 8 marked for identification and
attached hereto.)
BY MR. MULLINS:
Q. The first Duren incident, which happened at 1045

hours -- no wait, that's the second one. The first one

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was 1700 hours marked as Exhibit G.
A. Wait. Are you sure?
Q. No. Okay. 1045 probably is --
A. I think we had to -- the incident earlier and
then the 1745 was later.
Q. Okay. So the 1045 was 1045. Yeah.
MR. MULLINS: So this is Exhibit 9. I'm
sorry.
(Exhibit 9 marked for identification and
attached hereto.)
MR. MULLINS: And then that's going to be
Exhibit 10, and that's the 1700 one.
(Exhibit 10 marked for identification and
attached hereto.)
BY MR. MULLINS:
Q. Okay. All right. I'm going to start with
Mr. Dore, D-O-R-E. He was in the jail on chancery -- it
says charges, "chancery." What is that?
A. Chancery writ, mental subject lunacy, awaiting

for evaluation or something like that.

QO. And that was his only charge?

A. I don't recall if the deputies -- seems like
they got a call on him down at the children's home. And
he ran off, and seemed like he was unstable maybe on a

substance or something like that.

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Q. Can you tell me where he was when you used che
taser on him?

A. Isolation cell.

QO. And was he chained up?

A. The front. No, there was an isolation cell in
the booking area.

oO. pifferent one from the one Jimmy was in?

A. Tt had all of the amenities that the other cells
had, that the isclation in the back did not have.

QO. When you said amenities, that -- it had a4
toilet?

A. Yes.

Q. Sink?

A. Yes.

Q. So he was in this isolation cell, and he was
acting up, for lack of a better word, in the isolation
ceil?

A. Well, he was -- I can't remember exactly what I
wrote right there. May not be legible to you. This guy
here was making a lot of noise. JI went back to see -- I
could hear him outside. I came to work, and I could hear

him outside. This is at 8:00 in the morning, thereabouts,
8:15. I could hear him from the front as t wag coming in.
IT went back to see what was going on. And he was in the

cell ranting and raving and stripping the blanket. He

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was -- had flooded the cell, urine. We nad had someone in

the past try to hang themselves or hang themselves in that
cell.

And so I opened the door to try to communicate
with Seth to get him to quit because I didn't want him to
start trying to hang himself by stripping the sheets. And
he was -- didn't seem to be in control of himself. And so
T used hard empty hand control when I tried to talk to him
and calm him down, and he swatted at my arm -" swatted at
my hand.

And at that point I -- yeah, he struck my left
arm and then he tried to grab me and I struck him with
what's known as a brachial stun, a stun technique, to the
left side of his brachial plexus area. His knees buckled,
then he rushed me, and I struck him, knee to the
midsection, solar plexus, and he fell to his knees, and I
grabbed him and wrestled him to the floor.

And this wrestling went on for some time and the
urine and the water. And he had me around the collar and
kind of on the side, face down on the side ~- had me
around the collar, and he wouldn't let go. f tried the
pleasure point techniques to no avail, and he was just --
he was trying to get up. And I was holding him down. And
I was getting tired. And I asked someone to get a Taser,

something, I needed some help. I was getting tired.

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(Off the recerd. )

A. And as I recall, Roy, the chief deputy -- yeah,
it's his taser. He came with a taser. And [I can't
remember if he fired that thing and missed or one probe
struck. But I remember him about to fire that thing, and
I thought, oh, boy, you know, I'm going to get it, too.

And I just remember telling him to hand me the
taser. And I showed it to the guy and I said,
"Son, let me go. Let me go," something like that, "or I'm
going to shock you." And he wouldn't tet go, and so I
crackled the thing and stuck it there and then pulled qt
off, just a couple seconds maybe. And then, you know,
tried to get him to let me go again. And I stuck it there
a couple seconds because it's a pain compliance, and my
other pain compliance techniques had not worked. So
that's the gist of that. That's what took place. I was

trying to protect him from hurting himself.

BY MR. MULLINS:

Co. Have you ever been tased before?
A. No,
Qo. With regards to the situation you've just

described, you tased Mr. Dore twice?
A, I drive stunned him.
Q. Drive stunned.

A. Touched him with the shocking portion.

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OQ. Have you ever had any training on arresting and
handling mentally ill suspects?

A. Just what I received at the academy, just
regular arresting techniques. 1 have done that before ~-

Oo. I understand regular --

A. -- from experience.

Q. I understand regular arresting techniques, but
my specific quéstion is: Have you had training on
handling mentally ill suspects?

A. Not specific training.

Q. Okay. Are you aware in reading -- well, let me

ask you a question here. We have to keep up with our
legal reading, and we read Mississippi Bar magazines and
AVA and various other defense and plaintiff magazines on
cases that come down. Did you ever subscribe to any
similar publications for law enforcement officers, such as
International Association of Chiefs?

A. ¥ don't recall. Occasionally, we would get a
bulletin, an FBI bulletin or something like that that I
would look through.

Q. And in your law enforcement career, are you
aware of different standards for arresting folks who are
mentally ill?

A. Not that I recall.

Q. Okay.

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A. Not that T know of.

Q. Fair enough. But just to be clear, Mr. Dore was
in an isolation cell, the one up front, when he was ——
when you opened the door when this all began, correct?

A. Right.

Q. Now, I'm going to hand back Exhibit 8. Looking

at the taser download that was done on this case, can you

show me Mr. Dore's -- underline it and bracket it.

A. Hang on just a minute. I! don't reckon I see it
here.

Q. Well, I didn't either.

A. i don't know if it's the wrong paper oF put the
wrong one with it or what. Now, some of the other ones
were -- let's see here. Some of the other ones were wrong

in the past. I think y'all alluded to it yesterday.

Q. Dates and times?

A. Yeah. I don't know if this is that case oF not.
tT don't know. If I have some more downloads, maybe we can
put the two together.

Q. Well, I just wanted to make sure because I did
not see a 5/29/2007.

A. Yeah. I don't see it right there.

Q. All right. And the taser that was used was Roy
Shapley?

A. Yes, ] believe so. Yeah.

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Oo. Well, it has Mr. Shapiey's name on it.
A. Right. That's --
Q. And let me ask you something. What I've asked

for is all of the use of force reports regarding the
taser. And I've gone over Will's with him, and I'm
getting ready to go over yours. Jeff said he had never
used it before. And I think they alluded to the fact that
there were possibly two others. Mr. Shapley's taser,
specifically, there are several dates where it appears to
me that the taser was used. Not a spark test but several
second durations. And I want you to look at it and just
scan through those different days.

A. I see that.

QO. Five second, ten second. There's several
entries, correct?

A. That's correct.

Q. Are you familiar with why the taser appears to

have been used?

A. No, I'm not, unless it was used in training
exercises. I don't know.
Q. You know, and I don't know. I'm just asking

you. Policy and procedure dictates that when it is used
on a person, that the use of force report is supposed te
be filed, correct?

A. Yes.

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Q. Are you aware of Mr. Shapley ever using the °°
taser on anyone?

A. Yes.

Q. Okay. Who has he used the taser on?

A. The only person I can recall is a fellow by the
name of Jarome Jehvan.

QO. How do you spell Jehvan if you know? J-A-V-O-N,
perhaps?

A. J-E-H-V-A-N maybe.

Q. And where did that tasering take place, if you
know?

A. Out in an apartment area.

Qa. And was a use of force report completed?

A, I don't know,

Q. Was it during your tenure?

A. yes. JI think those things were sometimes put in
my box and sometimes Ms. Betty got them and filed them.

Q. All right. Exhibit 9 is the first Robert Blair

Duren taser. And, again, it appears that he was in jail
on lunacy writ again?

A. Right.

QO. And he had been there since 8/10 of ‘O07,
according to your handwritten notes?

A. Uh-huh.

QO. Correct?

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A. yes.

QO. And it was August 14th, 2007, IL believe, when
this tasering happened?

A. That's correct.

Q. And you've looked through this and does it
accurately depict what occurred in relation to Mr. Duren
getting tasered?

A. Yes, I've seen it before, and I did it.

Q. Now, in the case of both Mr. Duren and Mr. Dore,

they were not aggressively resisting any officer prior te

you making contact with them, correct?

A. At one point of contact? What do you mean?
Q. Opening the cell door?

A. Were they -- no. No.

Q. They were just acting, as you've describing,

yelling, clogging up the toilets, et cetera?

A. Right. And with the potential of what I
perceived to harm himself in the form of --

Q. Right. But there were no officers in there or

no other inmates, so they weren't a threat to -~

A. Not -- no, not in that isolation cell.

QO. Let me finish my question.

A. I'm sorry.

QO. They weren't a threat to any other inmate or any

officer prior to you opening the door and going in,

o

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correct?

A. Correct.

QO. And I believe, in Duren's first taser, you used
Tommy Wilbank's taser; is that correct?

A. yes. Let me see that.

Q. Sure. It says Tommy's on there.

A. Yeah. Make sure I got the rignt taser download

on my report.

QO. Sure.

A. On the other one, whose did I --

Q. Roy.

A. -- use?

Q. On the other which one?

A. On the second use on the Duren fellow.

QO. Spares?

A. Spare. That was the one up front.

Q. T’m assuming that's not Deputy Spare, that's

just an extra one?

A. Right. That's the one that the auxiliary or
part-time deputies would use. Tt was on 8/14, 1045. I
don't see -- well, I'm not seeing the -- all right. I
think I've got the report attached to the wrong download.

Q. All right.

A. Or whoever attached this.

QO. Well, I attached chem, so let me make sure.

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: a5 |

A. All right. Loox on the back page and there's
two downloads for g/i4.

Q. Yes, sir.

A. One spark test and one actual deployment.

Q. Okay-

A. And on the front page of the report, it
andicates four cycles on the very front page of this
report, not the download, the actual taser use report.
The very front page.

Q. Oh, here?

A. The handwritten context on the first little
paragraph there.

Oo. Yes, Sir. Four cycles, yes.

A. eg I think the other download report will
probably -~ well, it needs to pe with that taser report
right there.

2. Okay.

A. you follow me?

Q. yes. There's another download report?

A. Well, I mean, if there's one there. I don't
know.

Q. Well, fortunately, Jeff Bates stamped these and

did it in order for me. and the whole report is Tippah
205 to Tippah 311. so it wouldn't be difficult at ail to

see if there's a Tippah 312 that I need to include. And

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it's not. That's the end of what we have. The others *
were picked up with Will Rogers' taser usage. But the
last page on Exhibit 9 did indicate at least one taser
usage at 1702; is that correct?

A. Yes. Now, that's the -- there was one, yes, at

that time.

oO. And it's 0119?

A. Yeah.
QO. Ts that correct?
A. I guess that's right.

QO. All right.
A. Now, that doesn't go with that report. Are we
talking about the same one? Is that the one you're

looking at that we were just talking about?

QO. re doesn't, does it?

A. No, that's what I was -~

QO. All right. Hold on.

A. I can clarified if you need me to.

Q. Well, hold on just a second. I understand

exactly what you're saying now because there were two --

okay. Now, explain to me why it doesn't go with this one.

A. I'm sorry.
Q. Explain to me what you were going to say.
A. Well, if you compare the two -- well, I'm sorry,

let me see -- can you just put it between us and let me

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— a7 |
1 point out to you?
Z Oo. Sure. Yes.
3 A. Right here it says, after the fourth cycle, it
4 says, "Describe the demeanor after the devise was deployed
5 or used until after the fourth cycle."
6 Q. Can I make a suggestion?
7 A. Yeah.
8 Oo. Tf we swap 77
9 A. That's what I was wanting to do.
10 Q. See, I'm going to hand you what we have as
il another exhibit.
12 MR. MULLINS: Let's go off the record.
13 to (Off the record.)
14 BY MR. MULLINS:
15 Q. Okay. I think we got the exhibits correct.
16 Exhibit 9, is now correct. ft's got the proper taser
1? download with it, and so does Exhibit 10; is that correct?
18 A. Yes.
19 Q. yes. Okay. Good. Did you have your own taser?
20 A. No.
al Q. Where is the spare one kept?
22 A. It's kept in the file room next to the
23 secretary's office.
24 Q. Do officers carry any type of personal taser
25 devices that aren't —~ you're familiar with stun guns?
|

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A. Yes.

Q. Do you know if any of your officers carry those
stun guns?

A. Roy had one.

Qo. And just for the record, what is that?

A. Tt's a shocking device, pain compliant.

Q. It's different than a taser?

A. It's different than a taser, no prongs come out.

Q. Tt's just a handheld that you click and hola on
to the person?

A. Right.

Q. Are you aware of any other officers that had
those?

A. No.

Q. How about Will Rogers, specifically?

A. I'm not aware.

Qo. It wasn't prohibited for an officer to carry
those?

A. No, we didn’t prohibit it. Just didn't --

Q. Did you -- I'm sorry.

A. Just didn't have them except Roy that I'm aware
of.

QO. Was he trained to use that device?

A. No. There was no training available for that.

Q. And where did he keep his ~- what do you call

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that?

A.

Q.

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What's the best description for it?

Stun gun.

Is that good? That way we know I'm not talking

about a taser.

A.

Q.

A.

Yeah. Stun gun is what comes co mind.
Where did he keep his stun gun?

In his desk. And I think he put it in his car

sometimes.

Lt?

So where was his desk located?

In the sheriff's office. His office was next =o

tn relation to the intoxilyzer room, where was

The jail is attached to the sheriff's office.

All right.

Q.

A.

A.

Q.

Is your office in the same area as the jail?
It is, but it's separate from the jail.
Okay.

The jail has a big iron door, secure.

Sure. I got you.

Got the offices -—-

All right. Did you have any policy with regards

to the use of the stun gun?

A.

Q.

No.

Were you aware that --

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50
A. 1 do know that Roy was emall in stature and an

older fellow and smoked cigarettes, not in the best of
health. And if someone got on him, he would use that, of

could use that, to get them off of him.

Q. Had he used it on people before?
A, One time that I'm aware of.
Q. Did he have to Fill out use of force reports

every time he used it?
A. No.
Q. All right. He was in the cell both times when

he was tasered, correct?

A. Correct.

QO. An isolation cell?

A. No. Tsolation cell one time and a holding cell
the next.

Q. And you were moving him from one cell to the

other: is that correct?
A. That's correct.

QO. Prior to that time, he was not aggressively
resisting any officer or fighting with an inmate, correct?
A, He was not, not to my knowledge. 1 didntt
monitor him the whole time he was there. We had to move
him for hygiene purposes. He was -- had the whole jail

smelled up.

Q. You know, crazy people will do stuff like that.

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A. Well, they can.

Q. Maybe they don't need to be belonging in the
jail for four days.

A. Well, that's a legislative matter, T suppose.

Q. T agree. I'ma big proponent against that.
That's neither here nor there. Let's see if we can go

through. Tall me, if the person is in the back --

A. are we through with Duren’?

Q. We are.

A. Okay. Well --

Q. Did you want to add something to it?

A. Well, yeah, he was a combative subject.
Q. Okay.

A. and I think the report refiects that.

Q. sure, And he was aiso mentally ill?

A. He was. I'm not a doctor, again, a
psychologist. 1! don't know that.

Q. He was in there on a lunacy writ, correct?

A. yeah. He needed to be evaluated, or had been
evaluated, and was being held until he could be placed in
a proper facility.

Q. Sure.

A. And he was aggressive towards me. He grabbed my
arm, as the report reflects, and then lunged at mé as we

were having to move him from one cell to the next.

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Q. Would you agree that training on handling
mentally ill suspects would be appropriate when you have
to deal with mentally ill suspects?

A. Managing them in a jail environment or any other

environment would be the same for any other person is my

understanding.
QO. You're not aware of any differences?
A. I'm aware of, there may be differences in the

mental state, but they stili pose the same threat.

OQ. Sure. Well, and this is what I'm talking about,
Mr. Vance. When you're dealing with someone who is
mentally iil, they may not respond to your verbal commands
pecause they are mentally ill?

A. Tt's possible.

OQ. And they may not respond because they can't
appreciate the difference between right and wrong?

A. Tt's possible. At the same time, you have to
issue those same announcements to stop resisting or stay
down.

oO. But, of course, there may be training out there
that you're not aware on how to deal with mentally ill

suspects in a different manner, correct?

A. Tt could be.
Q. You're just not familiar with them?
A. T'm not familiar with them.

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O. Okay.

A. I never faced that where someone who had been,
if they had been, leveled a complaint regarding that.

Q. Do what, now?

A. No one's ever leveled a complaint regarding
that.

Q. In this situation with Randy Barnes, you were
aware he was tasered?

A. Yes.

Q. And you were aware he was in the back of the car
handcuffed?

A. Yes.

Q. And I'll let you read this. According to Will

Rogers, he went pack and opened the door to try to get him
to calm down and showed him the taser?

A. Yes.

Q. I'm going to let you read this. And according
to Will he would not calm down, and he started out of the
car. And that's when he was tasered. Do you recall that?

A. I recall that.

Q. And in this situation, what would be the
justification for tasering Mr. Barnes while he was
handcuffed in the back of the car?

A. He was a violent suspect, according te the

report here. He was trying to caim him down. He was

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still violent. He started out of the car, which would
indicate a flee to -- in order to resist his arrest.

Q. He was handcuffed, correct?

A. Right. They can still run.

Q. How about closing the door?

A. Well, I don't know if his feet -- I wasn't
there.

Q. Did you ask?

A. All I have to do is go by this right here.

Q. Did you ask Wili?

A. { don't recall asking him.

2. You got this use of force report?

A. Yes. I saw it. It's got my initials on it.

Q. What did Mr. Barnes indicated had occurred
according to your investigation?

A. All i'm going on is the report I have here.

Q. You went to talk to Mr. Barnes about what
happened, didn't you?

A. No, I don't recall having talked to him.

°. Well, how would you know his side of the story

without talking with him?

A. I wouldn't unless he came forward with a
complaint.
Q. Well, isn't the use of force report something

you investigated, whether it was done properly or not?

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irons.

A. (Witness examining document. }

QO. And you see where Mr. Mathis indicated in the
summary of the case where he said he asked Mr. Rogers if
he could remove the leg irons, and then Rogers told him

they could remove them.

A. T€ he wasn't causing any trouble?
QO. Yes, Sir. You saw that?
A. IL gaw that.

MR. MULLINS: Let's go ahead and get that

marked as Exhibit 12.

(Exhibit 12 marked for identification and
attached hereto.)
BY MR. MULLINS:

Q. Hopefully lastly, IT want to talk to you real
quick about Angie Polly Cox. Are you familiar with the
tasering that was done on Ms, Cox?

A. I saw the report.

°. And Ms. Cox was in the isolation cell, correct,
according to the report?

A. According to the report. Let me review it if I
need to if you're going to ge down there, go down that
path. (Examining document.) All right.

Q. Okay. And does that indicate that this lady,

Angie Cox, was tn the isolation cell?

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A. Let me have another look. 1 don't think I _
looked at -- is there an accompanying report?

Q. That's all we have on this one.

A. Okay.

Q. And Will's testimony, if you recall that from
yesterday -~ and if you don't, you don't.

A. Well, I remember him talking about it. TI

remember y'all talking about it, It says, “She was
oushed" -- “she pushed the jailer and attempted to assault
the jailer. She was put into isolation and shown the
taser multiple times." i don't know if she was in the

isolation cell or put in the isolation cell.

QO. Again, but this --

A. Tt just seemed to me that she was in a cell -~
°. And I'm not -7

A. -~ then put into an isolation cell.

Q. Based on Will's testimony, she was in an

isolation cell acting up. He went to the isolation cell,
opened the door, she came, apparently, towards him, and

that's when he shot her in the stomach according to him?

A. Ts that what he said yesterday?

oO. Pretty much, yes, sir.

A. Okay. I don't remember that.

Q. Well, let me ask you this: Did you ever

interview Ms. Cox as to what happened?

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1 A. I did not. TI know Polly.
2 Q. How do you know Ms. Cox?
3 A. Angie -- Polly has a long history of drug use,
4 cocaine use, alcohol abuse, and combative behavior. She's
5 strong as some of the officers.
6 Q. Does she have a history of mental illness as
7 weil?
8 A. T'm not aware of that. She may have been
9 diagnosed with something, but I don't recall. I don't
10 recall. I think she has been sent somewhere to get
11 evaluated some time or another, and I don't recall where
12 or when. Now, I believe that report indicates that she
13 was attempting to commit suicide. Am I right?
14 Q. Will's report?
15 A. Taser ceport right there.
“16 0, It says "suicidal."
17 A. Well --
18 QO. Go ahead.
19 A. -—- let's see here. She tried to hang herself
20 with her underwear. And she was totaliy noncompliant,
21 pushed the jailer, an attempted to assault the jailer.
22 QO. Okay. And you know Ms. Cox?
23 A, t know of her, and I have seen her. And
24 she's -- I've seen her in the jail.
25 Q. And were you aware she was interviewed by the

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FBI about this?

A. I was not.

Q. And that her version, as you Can imagine, is
different than Will's version as he made in the report?

A. May be.

QO. And for your benefit, I will give you this
document and let you look at if so you can see what she
said.

A. I have read what she says happened, Whether
that's a truthful account or not, it would be suspected.

Q. Okay. Why would that be?

A. Polly -- knowing her, 1 would believe would
fabricate some of that.

Q. Not to -- but we heard Mr. Will Rogers yesterday

say he fabricated his police report, and admit to that.

A. He did admit to it. He pled to that.
Q. But you never ~-7
A. + wouldn't -- he pled to that report right

there. Not to all of the rest of his reports.
Q. But that does call him under suspicion on his
other reports, wouldn't you agree?
A. It could.
MR. MULLINS: Let's go ahead and get
Ms. Cox's summary marked as whatever exhibit we're

on. 13?

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(exhibit 123 marked for identification and os
attached hereto.)
BY MR. MULLINS:

Q. But you didn't identify or discuss or talk with
anybody about Ms. Cox's tasering, correct?

A. No.

Q. Did you discuss it with Will?

A. No.

Q. None of the jailers?

A. No.

Q. And certainly not Ms. Cox, correct?

A. IT did net.

Q. Did you ever look at the download of the taser
on Ms. Cox's tasering?

A. IT haven't seen that.

QO. T haven't either. Real quick, you mentioned a
couple lawsuits that you were involved in, in
interrogatory No. 12. Do you recall those lawsuits?

A. Yes.

QO. What are those lawsuits?

A. I think there's one from Carla Bell.

Oo. What does that involve, Mr. Vance?

A. Do we have that report from Shawn or -- I wrote
a letter, and it was -- what do you call it? What's the
word?

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Timber Hills Mental Health, or were you another parcy that
wasn't included?

MR. ALLEN: I think that was an et al.

MR. MULLINS: I got you.

BY MR. MULLINS:

Q. Were you sued as the sheriff of Tippah County?
A. I was the sheriff then.

Q. All right. So she had made some Lype of --

A. False allegations.

Q. About --

A. Against the way I handled her, and I never had

arrested her.
Q. Okay. Okay. And then the other one is

Vuneannon versus United States of America.

A. T can't remember his first name -- Vuncannon.
QO. What is that one about?
A. That was where he was injured when he was out as

a trustee doing some work.

Q. Okay. All right. And this is something I
should have covered just a second ago. And I promise I'm
about ready to let you go. On Exhibits 9 and 10, which
were the Duren tasering -~

A. Un-huh.

Q. On the taser downloads -- and I'm going to flip

to both of them so we can look at it Simultaneous. We

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know that at the bottom of the page of the taser download

igs your tasering him.

A. Right.

Q. This is 8/14/2007. But you can look in here
with me, and there's several others ranging from two
seconds -- I know the one-second ones are probably spark
tests, correct?

A, T presume so, yes.

O. But there were several other cycles of five
seconds on 11/05/06; is that correct?

A. That's correct.

QO. And the next page there's other cycles of two
ranging to five on 11/19/06. Again, on the next page,
there's several five and three-second cycles, four-second
on the next page. Indicates that the taser was being
activated for several seconds, which is consistent with it

being used on somebody in some way, correct?

A. Yes, could be. Not sure that it was.

Q. Not sure that it wasn't, correct?

A. Correct.

QO. And this was, I believe -- the one we looked at

just then on Exhibit 9 was the spare, which would have
been the one used primarily by reserve deputies, correct?
A. Right.

Oo. But, again, if it was used on a person, it would

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be required to have a use of force report?
A. That's right.
Qo. And, again, and not to belabor this, but looking

on Exhibit 10 looking at the download data that we have on

this taser -- and this is Tommy's. What's Tommy's last
name?

A. Garrett.

Q. Okay. Again, we've identified the use that was

done that day on here somewhere.

A. T think it was on the last page.

Q. You're right. The very last page, O119. But as
you look through Tommy's data, there's several five-second
usages on the first page, correct?

A. Correct.

QO. And on the next page, there's several two,
three, one eight-second use cycle and continuing on to the
third page, there's several four and three-second cycles.
Next to the last page, there's several -~- numerous, one,
two, three, four, five, seven or so five-second cycles?

A. Yes.

Q. Again, it would be consistent with the fact that
the taser was being used for that period of time. We
don't know if it was on a person or what?

A. That's correct. And I don't know if that was

during the training exercise or not either. There was

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some training exercises that took piace.
Q. Okay. For recordkeeping sake, would it be
something that would -- so we wouldn't have this type of

confusion that you and I are having right now, that when
it's done for training purooses, that you would have some
type of form filled out to indicate, "Hey, we shot this
off on this date. It was not" -- "we weren't shooting

Polly Cox or Randy Barnes, we were shooting™ --

A. Yeah.

QO. And for training purposes? Do you have
something --

A. I think it would be consistent with the date of

the training that we could lock back on these downloads
and see.

Q. Could you do that for me so I can —- if it's
possible? And I guess I'm requesting that that be done so
we can ascertain whether these downloads that we're
seeing, several seconds, up to ten seconds, were done on
training or they were unaccounted for. Could you do that?

MR. MULLINS: Jeff, I'm asking it be done.
MR. ALLEN: Yeah. If we've got access.

A. Tf I've got that information.

MR. MULLINS: Well, the county should because

I'm assuming -- and you represent the county.

MR. ALLEN: I understand. But there's been

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an administration change and things --
MPR. MULLINS: Let me know. If we have to go
and get the new sheriff in, we will bring him in
and see if he can provide that if that's what we
need to do.
MR. ALLEN: We've been in contact with him.
MR. MULLINS: Well, let me know. And I mean
that. Because I know Brandon's limited on what he
can get, and I appreciate what you've brought so
far.
BY MR. MULLINS:
Q. Last thing. And this will hopefully be quick.
John Jenkins.
A. May I interject?
Q. Sure. Absolutely.
A. Just cccurred to me. We have sought -- looked
for taser reports that have been filed --
QO, Yes, sir, you have.
A. -- that may be consistent with that use.
Q. That's what I'm asking. Tell me what -- and I

don't want to know any attorney/client privilege, but
you've been requested by your attorney to retrieve use of
force reports consistent with taser use, correct?

A. Yes.

QO. What have you done in that regard?

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A. What efforts have I made?
o. fes, Sir.
A. I've contacted his sheriff and asked him to get

his staff to look. Even my former secretary went with his
secretary and looked.

Q. And the new sheriff is Karl Gaillard?

A. Karl Gaillard.

Q. And has he been helpful in this regard?

A. Yes,

Co. Okay. So could you check with him on these
specific download datas that we have to see if he has use
of force reports consistent with that?

A. I have asked for them, any of them. Have not
gotten them.

QO. So could you check with him on these?

A. On these right here?

Q. Yes. The ones that we know the taser has been
used for several seconds on certain dates, to see if there
was training going on.

A. Okay. That was under my administration, and
he's not been able to provide any data with respect to use
of force reports relative to those dates and those times
of activation. That's why I'm -- you know, I --

Q. Well, you mentioned the training. Could you

find out whether there was training going on on these

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days? Is there anything --
A. Weil, it may -- these right there -- those dates
are -- if I could refer to them again because the training

would have been largely on the same day or closely there

to.
QO. Sure.
A. And I'm saying --
QO. Sure. That's why I wanted you to --
A. I'm saying that perhaps deployments, if they

were actually deployed in the Line of duty, that the
reports that were filed, that are not accessible, would be
consistent with those downloads.

Q. Right. And it very well may be. Several dates,
on October 14th and October 18th, but would there be

something to indicate whether training was going on?

A, Maybe there was a day of training. I can try to
find out.

Q. That's what I'm requesting, to see if T can
figure out what's going on here. John Jenkins came to see

you some time after this incident, correct?

A. He did.

oO. Are these your handwritten notes?
A. Tt is.

Q. You write about as bad as me.

A. Thanks.

